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                                       February 23, 2022
Via ECF

Hon. James R. Cho
Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East, Chambers: Room 1227 South
Brooklyn, New York 11201

Re: Transped Shipping Levante S.L. v. B Global Logistics Inc., Case Number 1:20-cv-5357-
PKC-JRC, U.S. District Court, Eastern District of New York – Status Report (1/24/2022 Order)

Dear Judge Cho:

        Pursuant to Individual Practice Rule A and the Court’s Order of January 24, 2022,
Plaintiff Transped Shipping Levante S.L. (“Transped”) submits this Status Report.

        Transped is in communication with James P. Pagano, attorney for Defendant, B Global
Logistics, Inc. (“B Global”) regarding the status of B Global’s effort to obtain money from the
United States Small Business Administration (“SBA”) and New York State to assist it regarding
economic losses it suffered due to the pandemic. B Global has persisted in its efforts to
communicate with the SBA, but so far has not received notification of a decision on her
application. B Global through its owner/CEO, Brigid Gatti, is getting assistance from her United
States Representative to Congress to facilitate her dealings with the SBA. B Global has also
gotten encouraging feedback from former and prospective customers regarding future business.

                                            Respectfully submitted,

                                            /s/ Daniel P. Jaffe

                                            Daniel P. Jaffe
                                            Attorney for Plaintiff


c: James P. Pagano, Esq. via CM/ECF




                                                                                 Husch Blackwell LLP
HB: 4861-3723-9568.1
